           Case 1:18-cv-10223-ER Document 24 Filed 10/20/20 Page 1 of 1




                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK


  Ralph Davis,
                                                  Case No. 1:18-cv-10223-ER

                           Plaintiff,

                                                  ORDER OF DISMISSAL WITH
          – against–                              PREJUDICE



  Citibank, National Association, Experian
  Information Solutions, Inc., Trans Union,
  LLC and Equifax Information Services, LLC,


                           Defendant(s).


       Plaintiff Ralph Davis, by counsel, and Defendant Experian Information Solutions, Inc.,

by counsel, having filed their Stipulation Of Dismissal With Prejudice Between Plaintiff And

Defendant Experian Information Solutions, Inc., AND THE COURT, having been duly advised,

NOW FINDS that the same should be granted.

       IT IS, THEREFORE, ORDERED that all claims of Plaintiff Ralph Davis against

Defendant Experian Information Solutions, Inc. are dismissed, with prejudice. Plaintiff Ralph

Davis and Defendant Experian Information Solutions, Inc. shall each bear their own costs and

attorneys’ fees.



Date: October 20, 2020                              ____________________________________
                                                    JUDGE, United States District Court,
                                                    Southern District of New York
